Case 1:03-cr-00315-ERK Document 195 Filed 04/05/22 Page 1 of 8 PagelD #: 919

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6 INCIDENT REPORT CDen

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/5. DEPARTMENT OF JUSTICE Arg sloB FEDERAL BUREAU OF PRISONS
J Part I - Incident Report -
/ “a Institution: USP CANAAN

2. Inmate’s Name 3. Register Number 4. Date of Incident 5. Time
Mendez, Jesus 38655-054 08-27-2013 , 11:50 a.m.

6. Place of Incident 7. Assignment 8. Unit

El ORD AM E-1 Unit.

BH-1 Unit Common Area

9. Incident 10. Prohibited Act Code(s)

201 - Fighting with Another Person 201

08-27-2013 Time: 11:50 a.m. Staff became aware ef incident)

11. Description Of Incident (Date:
I was monitoring inmate movement at the E-1 Unit door

On August 27, 2013, at approximately 11:50 a.m.,
which leads to the Compound, when I observed inmate Soto, Roderick, #69978-053, and inmate Mendez, Jesus,

#38655-054, fighting in the Common Area of E-1 Unit. I observed both inmates striking each ot‘er with
closed fists to the face, neck, and torso areas of the body. I called for assistance and gave both inmates
orders to cease their actions and lay on the ground. However, they continued to fight and during so I
observed inmate Soto produce a sharpened metal weapon and begin swinging it at inmate Mendez while screaming
he was going to kill inmate Mendez. As Staff arrived I advised them weapons were involved. I was standing
adjacent to Counselor Compton who ordered inmate Soto to give him the weapon, and inmate Soto complied
I identified the weapon to be a round metal weapon shazpened at one end with a

by tossing it to him.
Inmate Mendez and inmate Soto were then restrained by responding

black lanyard attached to the other end.
Staff without further incident. I commenced locking in the Unit.

12. Typed Name/Signature of Regerting Employee 13.Date And Time
B. Celuck / fe fe 08-27-2013/2:30 p.m.

14. Incident Report Delivered to Above Inmate By 15. Date Incident 16. Time Incident
(Type Name/Signature) Report Delivered Report Delivered

Tifewes fe G-257 15 S°Upr~

Part II - Committee Action

17. Comments of Inmate to Committee Regarding Above Incident

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18. A. It is the finding of the committee that you: B. The Committee is referring the
. Charge(s) to the DHO for further
Committed the Prohibited Act as charged. Hearing. ‘
: : waa c. The Committee advised the inmate of
Did not Commit a Prohibited Act. — its finding and of the right to file
Committed Prohibited Act Code(s) an appeal within 20 calendar days.

19. Committee Decision is Based on Specific Evidence as Follows:
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20. Committee action and/or recommendation if referred to DHO (Contingent upon DHO finding inmate committed
prohibited act)

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21. Date And Time Of Action je Z 7 ? f G33 (The UDC Chairman=s signature certifies who sat
on the UDC and that the completed report accurately reflects the UDC proceedings.)

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Chairman (Typed Name/Signature) Member (Typed Name}

Member (Typed Name)

Original ~ Central File Record; Yellow - DHO; Biue - Inmate After UDC Action;
Pink - Inmate within 24 Hours Of Part I Preparation

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